                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                            3:19-CR-00180-RJC-DSC
USA                                          )
                                             )
    v.                                       )              ORDER
                                             )
ANDRIVIA WELLS                               )
                                             )

         THIS MATTER comes before the Court on the defendant’s Motion to

Transport to a Funeral. (Doc. No. 39).

         Title 18, United States Code, Section 3142(i) gives the Court authority to

temporarily release a defendant, in the custody of a United States marshal or

another appropriate person, for a compelling reason. The defendant is detained

pending sentencing based on findings of danger to the community and risk of flight.

(Doc. No. 9: Order at 2-3). She sought release from custody and transportation by

the United States Marshal Service (USMS) to attend the funeral of her husband

who died on January 3, 2021. (Doc. No. 39: Motion at 1). However, the instant

motion was not filed until a few hours before the funeral was scheduled to begin on

January 7, 2021, which has now passed.

         IT IS, THEREFORE, ORDERED that the defendant’s motion is MOOT.

 Signed: January 12, 2021




         Case 3:19-cr-00180-RJC-DSC Document 40 Filed 01/12/21 Page 1 of 1
